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Nikita Basargin                                                    FTL.
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SID# 8502557
SRCM, 777 Stanton Blvd.                                                 [J ORIGINAL
Ontario OR, 97914

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF OREGON

                                                    6  :13- cv- oao s- ~PK
Nikita Basargin,                       )     Civil Action No.: _ _ _ _ _ __
                                       )
                   Plaintiff,          ) CIVIL RIGHTS COMPLAINT
                                       ) 42 usc§ 1983
             v.                        )
                                       )
Peter Marcellais, Police Officer       )
Marion County Sheriffs Office,         )
                                        )        Jury Demand over $10,000
                   Defendant(s).       )


                                           I.

Have you ever brought any appeal in a court of the United States while a

prisoner? No.

                                           II.

A.   Place of Confinement: Snake River Correctional Institution

B.   Is there a prisoner grievance procedure in this institution? Yes.

However, this claim does not concern prison officials or prison conditions.

C.   This claim is a violation of due process for Defendant's failure to properly

conduct pretrial identification procedures resulting in tainting of eyewitness

identification under 42 USC § 1983 and false arrest without providing probable
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cause derived from accepted police procedure and principles of the plaintiffs

14th Amendment right to due process. Plaintiff is not required to give notice per

ORS 30.275. See Memorandum in Support.

                                    III. Parties

A.      Name of Plaintiff: Nikita Basargin

        Security Identification Number (SID):

        Address: SRCM, 777 Stanton Blvd. Ontario OR 97914

B.      Defendant: Officer Marcellais: Marion County Sheriff Deputy, 100 High

        Street, P.O. Box 14500, Salem OR 97309.

                                         IV.

                                 Statement of Fact

     A. Plaintiff was arrested on May 13th' 2011 and arraigned on May 16t\

        2011. He was held in custody under false arrest for 72 hours.

     B. Defense Counsel during the criminal trial discusses how deputies had

        shown one photo of the plaintiff to the victim and then later on in a photo

        throwdown. Tr 20-21.

     C. Officer Marcellais on the scene of the crime after running the license

        plate on the vehicle traced it back to Ivan Basargin, plaintiffs brother. Tr

        26, 15-21.

     D. Once hearing the victim's description of the person that was in his house,

        Officer Marcellais testified that he automatically assumed it was Nikita
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   Basargin. Officer Marcellais showed a booking photo to the victim.

   Officer Marcellais also discussed with the victim how some of the

   plaintiffs features are similar to features he remembered seeing on the

   perpetrator. Tr 28, 13-14 and Tr 41, 15-22.

E. Officer Marcellais then contacted the victim and asked him to identify

   who he saw. Officer stated "I contact the victim again, let him know I

  found the vehicle and I believe I found, you know, somebody that he

   believes would be the suspect. I asked him to start describing him again.

   He starts describing him, including down to, you know, little dimples and

   stuff on his face that he noticed. I'm standing afoot away as I'm looking

   down at Nick and he's describing his face to a tee." Tr 33, 24-25; 34, 1-

   6.

F. The victim only had to describe the individual he had just seen in the

   single photo of the plaintiff that he had just discussed with Officer

   Marcellais.

G. During arraingment the victim states to the district attorney that he is not

   100% sure that "this is the guy". Tr 20.

H. Officer Marcellais conducted a subsequent 6 man photo throw down

   which included Nikita Basargin on 6/6/2011. Tr 20-21. This 6 man photo

   throw down was entered as Trial.Exhibit 1. Tr 12.
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  I. Although police testified that plaintiff could have changed his hair style,

     he was only in jail for a couple of days and no evidence or hair cut log

     entry to prove the theory that plaintiff changed his appearance.

  J. Plaintiffs brother Fred Basargin during trial testified that the plaintiff did

     not commit the crime and that he was never at the crime scene. Tr 71.

     This confession was given to a correctional officer at the jail and written

     and provided to the defense attorney. Fred testified in trial his

     involvement in the burglary but states that the plaintiff did not participate

      in the crime. Fred Basargin was brought up on charges related to the

     crime, but later the charges were dropped.

  K. Fred Basargin is currently serving a prison term for unrelated burglary

     corru:nitted in the same county.

  L. Officer Marcellais focused his criminal investigation on the plaintiff and

     impermissibly suggested to the victim that the plaintiff was the

     perpetrator, which led to a false identification. There was no other

     overwhelming evidence offered at trial that proved the States case other

     than victim identification.

                                        v.
                             Qualified Immunity

See Memorandum in Support of Civil Rights Complaint. Pg. 3 - 4.
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                                       VI.
                            Statement of the Claim
                                     Claim I
      Defendant, Peter Marcellais violated plaintiffs 141h Amendment right to

due process when he arrested the plaintiff without probable cause and placed

him in custody until the time of his arraignment.

      Defendant knowingly and tainted a burglary victim ' s identification of the

plaintiff with a single photo throw down and commentary to the burglary victim

during the throw down that influenced the identification of the plaintiff as the

individual that committed the burglary. Based on the facts presented herein a

reasonable inference can be drawn that Plaintiffs arrest was predicated on mere

suspicion and not probable cause. See also Memorandum in Support of Civil

Complaint. Pg. 6 - 11. The defendant perpetuated the false arrest of the plaintiff

and confined him in a County Facility from May 13 1h to May 16th.

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                                     VI. Relief

A.    Issue a declaratory judgment stating that:

Defendant, Officer Marcellais conducted a false arrest ofNikita Basargin

without probable cause in violation of plaintiffs right to due process per 14th

Amendment of the United States Constitution.

B. Award Compensatory Damages in the following amounts:

$300.00 a day for each day plaintiff was in custody prior to arraignment.

C. Grant such other relief as it may appear that plaintiff is entitled.



Signed this   L    day of   h1 k(           '2013.



                                        <fd~                    .
                                        (Signature of~ :::::;:::;-


                            Affidavit of Nikita Basargin
                                   In Support of
                                  Civil Complaint

      I, Nikita Basargin do state the following to be true to the best of my

knowledge under penalty of perjury:

      On May 13th of2011 I was arrested for Burglary in the First Degree. I

have always proclaimed my innocence. I was at Mega Foods during the time

that police say the burglary took place. I had walked on foot to Mega Foods to

buy a beer and returned home to finish mowing the lawn. After I returned from
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..                                                                                    7

     the store the police arrived and began to question me. He called the burglary

     victim who identified me over his phone. I learned later that Officer Peter

     Marcellais performed a suggestible single photo throw down with the burglary

     victim, discussed my facial features with him and my criminal history. When

     Officer Marcellais took me into custody I told him to check my alibi at Mega

     Foods. He refused to investigate my alibi claim. I was falsely arrested and

     ultimately convicted for a crime I didn' t commit. I have sent a request for a

     complaint form from Marion County Sheriffs Department but no response has

     been forthcoming. I have also sent Officer Marcellais a list of interrogatories

     but no response has been forthcoming.




                                    ~z;;A ~
                                      (Signature)

     State ofOrego~~
     Countyof             ~~



                                                                            OFFICIAL SEAL
                                                                        JANELL S ROCHESTER
                                                                       NOTARY PUBLIC · OREGON
                                                                        COMMISSION NO . 475324
        ary Public -   tate of Oregon

       y commission expires:    {)3_/ttl/;:20/f--
